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                                    No. 23-4509
        ___________________________________________________________ ______

                        IN THE UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                                  ____________________

        UNITED STATES OF AMERICA ........................................... Plaintiff-Appellee,

                                                Versus

        RUSSELL LUCIUS LAFFITTE .......................................... Defendant-Appellant.
                            ____________________

            APPELLEE’S RESPONSE TO MOTION FOR RELEASE PENDING
                                  APPEAL
                            ____________________

                                         INTRODUCTION

              Appellant Russell Lucius Laffitte has not shown his appeal raises a

        substantial question of law or fact likely to result in reversal or a new trial.

        Laffitte’s claims were squarely—and correctly—rejected by the district court. He

        waived his arguments by consenting to the procedures the district court used to

        relieve the two jurors in question, and the district court acted well within its broad

        discretion in replacing both of them: one needed medication, and one was in an

        “emotional meltdown situation.” Laffitte’s claims to the contrary ignore the

        applicable standards of review, and they rely on facts not found by the district

        court, assertions that directly contradict the district court’s findings, and affidavits




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        the district court found are not credible or competent evidence. Laffitte’s motion

        for release pending appeal should be denied.

                                  STATEMENT OF THE CASE

              Laffitte pleaded not guilty to a Second Superseding Indictment charging

        conspiracy to commit wire fraud and bank fraud, bank fraud, wire fraud, and three

        counts of misapplication of bank funds. Dkt. 61. His trial began on November 8,

        2022, and continued until November 22, when the district court charged the jury.

              Jury deliberations began around 10:22 a.m. Tr. 2152:9–2153:22.1 Around

        7:45 p.m., the court notified the parties that it had received two notes from the jury.

        Tr. 2157:24–2158:4. The first note said a juror needed antibiotics. Tr. 2158:1–2.

        The second note said the same juror was “[f]eeling pressure to change my vote.”

        Tr. 2158:3–4; Tr. 2159:6–8. The court said its instinct was that there were

        alternates and that it was not practical to send this juror home to get her medicine

        and then return to continue deliberations. Tr. 2158:7–11. The court requested input

        from the parties, “welcom[ing] any thoughts anyone may have.” Tr. 2158:13–14.

              Defense counsel asked whether the jury could come back in the morning. Tr.

        2158:16–17. The court responded that there was no issue with the jury




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              Unless otherwise noted, all citations to “Tr.” are to Dkt. 223, the transcript
        from November 22, 2022, attached to Laffitte’s motion as Exhibit A.

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        deliberating, no message that the jury was stuck, and no indication an Allen2 charge

        was needed. Tr. 2158:18–22. The court expressed that it was “trying to be fair” and

        said, “it just strikes me that under this sort of situation, the better course is -- that’s

        why we have alternates.” Tr. 2158:24–2159:4. “But,” the court continued, “I want

        to hear from you about this.” Tr. 2159:4–5. The Government suggested that the

        jury should be permitted to continue to deliberate that night. Tr. 2159:9–14.

               At that point, the court received a third note from the jury. Tr. 2159:23–24.

        The court said, “This appears to be -- I can’t quite figure it out. May be all the

        other jurors.” Tr. 2160:1–2. In the note, a group of jurors expressed concern that

        “[a] juror’s previous court experience is influencing that juror’s ability to discuss

        the trial in a group setting.” Tr. 2160:9–11. The note said the juror had made

        comments “on having been bullied as a juror on previous trials,” and advised that

        the juror in question would not consider evidence in this trial, was “hostile to

        hearing any debate from certain other jurors,” and disagreed with definitions the

        court had provided in the jury charge. Tr. 2160:11–16. The jurors who wrote the

        note asked that the court “consider speaking to this issue so that we are able to

        proceed with deliberations.” Tr. 2160:16–18.

               Before the parties could be heard on the third note, the court received a

        fourth note. Tr. 2160:3–5. The fourth note asked the court: “can you please call an


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               Allen v. United States, 164 U.S. 492 (1896).
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        alternate as I am experiencing anxiety and unable to clearly make my decision?”

        Tr. 2160:21–23. The court told the parties this note was from a different juror than

        the one who had written the first two notes. Tr. 2160:23.

              The Government immediately took the position that the court should relieve

        both the juror who was not following the law and the juror who needed to take her

        medication. Tr. 2161:10–12. The court responded, “I don’t want to read tea

        leaves . . . [Y]ou know, we shouldn’t know what they’re deliberating. And they are

        appropriately not telling me what they are doing. And I have no idea what they are

        doing.” Tr. 2161:19–21. The court again specifically requested input from defense

        counsel, stating, “Mr. Daniel, your suggestions? I value your experience.” Tr.

        2161:24–25. At defense counsel’s request, the court re-read the third note. Tr.

        2162:1–18.

              The court cautioned the parties about making decisions based on a

        calculation of whether the jurors in question were voting to convict or acquit,

        stating, “[I]f somebody was calculating this and said, oh, I think they are going to

        help me, and you end up keeping them on and, you know, whatever, you end up

        convicting your person, you end up with a conviction, somebody is going to feel

        pretty silly, and vice versa.” Tr. 2163:4–9. The court made clear, “I don’t worry

        about the result myself. I worry about do I have effective jurors.” Tr. 2163:9–10.




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              The court then told the parties that it was inclined to speak to the juror who

        potentially was refusing to deliberate, with a court reporter present but outside the

        presence of the parties, to inquire as to whether there was a problem. Tr. 2163:14–

        21. The court said if there was not a problem, it would allow the juror to continue

        deliberating. Tr. 2163:22. Turning to the specific concerns addressed in the first

        and fourth notes, the court stated:

              I think the one with the medicine we need to send home. She needs her
              medicine. I understand that. . . .

              The person with the anxiety, that’s a concern for me too. I don’t want
              someone who is not functioning to be -- I’ve got 12 jurors for a
              reason. The defendant’s rights are protected by having 12 functioning
              jurors. And it’s got to be unanimous. So I’ve got a problem having
              somebody who says I can’t do it anymore. That’s my concern.

              But I want to hear from everybody before I make a decision, because I
              think we are on virgin territory.

        Tr. 2164:1–15 (emphasis added).

              The Government argued the court should relieve the juror who needed to

        take medicine, remove the juror who could not follow the law, and inquire as to

        whether the juror who was experiencing anxiety was still a “viable” juror. Tr.

        2164:16–2165:6.

              With respect to the juror who potentially refused to follow the law, the court

        said, “I don’t want anybody else ganging up on somebody and trying to bump them

        off a jury. I need to confirm that.” Tr. 2164:25–2165:2. It continued, “I’ve got to


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        confirm that. I can’t let a juror be bumped out one way or the other who says,

        that’s not accurate, I’m fully participating, they just don’t agree with me. That --

        you know, that’s not a juror I remove.” Tr. 2165:12–16. And it stated a third time,

        “I’ve got to confirm it. I can’t rely on someone else’s account.” Tr. 2166:1–2.

              The court then said, “with the consent of the parties, we are going to set up a

        place where I will take a court reporter, and without anyone present but the court

        reporter, I will create a record. And with my deputy and my court reporter, I will

        ask the juror if there’s a problem.” Tr. 2166:2–7 (emphasis added).

              The Government requested that the court “maybe do the same thing with the

        juror who’s reporting being anxious.” Tr. 2166:8–13. The court asked, “Do I have

        consent of the parties for me creating a record to question the juror?” Tr. 2166:14–

        15. Defense counsel said, “Yes, you do have the consent, Your Honor.” Tr.

        2166:19–20. Defense counsel did not object to the procedure proposed by the court

        or request to be present during the court’s voir dire.

              Defense counsel then asked whether the note regarding the juror with the

        “strongly held conviction” used a pronoun, in an attempt to determine the gender

        of the juror. Tr. 2166:23–25. The court responded that there was no pronoun. Tr.

        2167:1–3.

              The last thing the court said before leaving the courtroom was, “I’m going to

        take action. Fair enough? Everybody happy with that?” Tr. 2168:11–12 (emphasis


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        added). The Government agreed. Tr. 2168:13. There was no objection, request for

        clarification, or expression of confusion from the defense. See Dkt. 269 at 9

        (finding “the parties agreed that the Court would speak to Juror No. 88 [the juror

        experiencing anxiety] with only a court reporter and courtroom deputy present and

        take action regarding her request to be replaced as a juror”) (under seal).

              Upon the court’s return, it notified the parties that it had allowed the juror

        who needed medicine (later identified as Juror 93) to go home. Tr. 2168:17–19.

        The court had also relieved the juror experiencing anxiety (later identified as Juror

        88), stating:

              I spoke with the juror expressing anxiety. And she asked to be
              relieved and said she wasn’t able to go forward, and I removed her. I
              relieved her. I granted her request to -- for an alternate. I just basically
              said to her, tell me, can you do your duties? And she said, I cannot do
              my duties. She’s got medication issues herself, anxiety issues. And I
              relieved her.

              And the decisions I’ve made resolved the other issue, so I didn’t have
              to address it. That was the longer one. I never had to address it. I
              understood that it took care from those other decisions.

              And I’m going to bring the jurors in to tell them they have to begin
              their deliberations again because there are new jurors.

        Tr. 2168:20–2169:8; see also Dkt. 212 at 2:23–3:5 (under seal). After having

        consented to the procedure outlined by the court, defense counsel then responded,

        “we would object not to the juror that was replaced for medication. We agreed to

        that. We agreed to that at the time.” Tr. 2169:25–2170:4 (emphasis added); see


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        also Dkt. 224 at 9 (defense counsel noting “Laffitte consented to the removal of the

        juror needing her antibiotic”). Counsel continued, “But the second juror that was

        replaced about the anxiety is the one we would like to -- make an objection to.” Tr.

        2169:25–2170:4.

              The court answered that the juror in question was “emotionally very fragile”

        and could hardly speak. Tr. 2170:5–7. The court further explained that the juror

              was on anxiety medication and that she was not physically capable or
              emotionally capable of going forward. I didn’t think I had any choice.
              We never got into what’s going on in the jury room or anything like
              that. It was -- and she was shaking when she was speaking to me.
              There wasn’t any confusion about that one.

        Tr. 2170:5–13; see also Dkt. 269 at 9 (finding Juror 88 “was obviously

        experiencing a great deal of stress and initially asked the Court to give her a

        moment to compose herself”) (under seal).

              The court replaced the two relieved jurors with two alternates and instructed

        the jury to begin deliberations again. Tr. 2170:18–25. Within an hour, the jury

        reached a verdict. Defense counsel then reiterated their objection to replacing the

        anxious juror. Tr. 2171:12–14. The court responded, “I did what y’all asked me to

        do.” Tr. 2171:15. Defense counsel answered, “I am not asking you to do anything

        differently now. Our understanding is that’s essentially, with the case law, it’s akin

        for moving to a mistrial. And just for the sake of the record, we just wanted to




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        bring that up. We object to replacement of one juror.” Tr. 2171:16–21 (emphasis

        added).

              The court responded:

              On what basis? Because I asked you what did you want me to do on
              these? And we agreed I would talk to the juror, who could hardly
              speak, she was so emotionally upset. And I asked her if she could
              serve. . . . And she asked me to remove her, as she had written me
              already and asked me to remove her. So I was doing exactly what we
              all agreed I would do.

              I’m a little perplexed by that, Mr. Austin, to after the fact coming in
              and start complaining about something on a procedure we had agreed
              to already.

        Tr. 2171:22–2172:6.

              Defense counsel stated that they thought they had objected on the record, but

        the court explained that their objection was lodged only after the court did what all

        parties agreed it would do. Tr. 2172:7–16. The court continued:

              You know, I try to be as transparent as I could. I read everybody
              everything. I asked you what you wanted me to do. I interviewed the
              juror, who was plainly incapable of continuing, and she was in an
              emotional meltdown. And I removed her. And that’s what I
              understood y’all -- we had agreed that I would interview her and I
              would make a decision.

              Now you now, after the fact, want to change that. You are a little --
              moment late. I already sent her home following the procedure.
              ...

              You know, folks, to come in after the fact here, after the court laid it
              all out and we agreed on a process, I thought it was very clear, and I
              did -- but there’s a record of her I don’t think anybody would really
              question. It’s all on the record about what she told me. And I was, of
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              course, following up on her request that she be removed and told me
              she could explain it to me, and she did. I don’t want to invade her
              privacy. But she is on significant medication. And she was, in my
              estimation, in an emotional meltdown situation.

        Tr. 2172:17–2173:1, Tr. 2173:24–2174:8.

              The jury returned a verdict of guilty on all counts. Tr. 2174:22–2176:6.

        Laffitte moved for a new trial and judgment of acquittal on all counts arguing, in

        part, that the court erred by replacing the two jurors. Dkt. 224. Laffitte asserted that

        the court “erred when it made the decision to dismiss and replace both jurors in-

        camera, outside the presence of Mr. Laffitte or counsel and without providing

        counsel adequate notice as to the removal of Juror Number 88,” id. at 10, and that

        “[v]iable alternatives short of replacing the jurors existed,” id. at 14.

              Two weeks later, Laffitte moved to file under seal affidavits from the two

        relieved jurors. Dkt. 230. The court ordered the parties to brief whether the court

        could receive the affidavits under Federal Rule of Evidence 606(b).3 Dkt. 233.

        Laffitte then moved to file under seal a third juror affidavit. Dkt. 240.

              Laffitte argued that all three juror affidavits were admissible. Dkt. 242

        (under seal). Days later, he retained new counsel, Dkt. 243, 244, who filed a

        supplemental motion for a new trial, Dkt. 254 (under seal). This time, Laffitte

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              Rule 606(b) provides that, with very limited exceptions, a court may not
        receive a juror’s affidavit or evidence of a juror’s statement regarding any
        statement made or incident that occurred during the jury’s deliberations, the effect
        of anything on any juror’s vote, or any juror’s mental processes concerning the
        verdict or indictment. Fed. R. Evid. 606(b).
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        argued a new trial was warranted because his “trial counsel erred in failing to

        strenuously object to the process and the dismissal of the jurors,” id. at 15, and that

        “[t]rial counsel’s failure to insist on Mr. Laffitte’s right to have both himself and

        his counsel be present for any questioning of the jurors and to seek clarification

        from the Court on its intended course of action . . . clearly helped deprive Mr.

        Laffitte of his right to a fair trial,” id. at 16.4 The Government responded in

        opposition to Laffitte’s attempt to admit juror affidavits and his supplemental new

        trial motion. Dkt. 260 (under seal) (attached as Exhibit A).

              The district court denied Laffitte’s motions for a new trial and a judgment of

        acquittal. Dkt. 267. By separate order, the court held Laffitte’s attempt to attack the

        validity of the verdict through juror affidavits had been “plainly rejected” by the

        Supreme Court. Dkt. 269 at 7 (citing Warger v. Shauers, 574 U.S. 40 (2014))

        (under seal). The court found that the three affidavits—in their entirety—fell

        within the prohibitions of Rule 606(b). Id. at 10, 14–15, 16. It concluded that

        Laffitte’s “persistent efforts, sustained over months, to impeach the jury’s verdict

        plainly violate centuries of legal precedent and clearly established Court rules and

        standards.” The court continued, “[Laffitte] has every right to seek judicial relief

        from alleged errors and denial of his rights, but a defendant has no right to take a

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               The district court found “[t]he performance of Defendant’s trial counsel in
        addressing the issue of the juror notes and developing a common plan of action
        was well within professional standards and there was not the slightest suggestion
        of ineffectiveness.” Dkt. 267 at 18.
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        wrecking ball to long-established court practices and standards protecting the

        sanctity of jury deliberations and the finality of jury verdicts.” Id. at 19. The court

        denied Laffitte’s requests to contact a fourth juror and court staff. Id. at 16–18.

               With respect to the proposed affidavits themselves, the court found “clear

        signs that defense counsel shaped and manipulated Juror No. 88’s affidavit,” that

        “the affidavit shows the hallmarks of lawyerly shaping and manipulation of the

        evidence,” and that the affidavit was “untrustworthy and unreliable.”5 Id. at 10–11.

        The court found Juror 93’s affidavit “carries the hallmark of the manipulating and

        shaping of the juror’s testimony by defense counsel” and “appears strategically

        prepared to overcome the binding effect of defense trial counsel’s consent to the

        replacement of Juror No. 93.” Id. at 15.

               Laffitte then filed another motion for a new trial, based on purportedly

        newly discovered evidence. Dkt. 274. The district court denied the motion. Dkt.

        289.




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               In March 2023, three months after Laffitte’s trial counsel sought to admit
        Juror 88’s affidavit, counsel informed the court that the juror had “request[ed] a
        copy of her affidavit.” Dkt. 281 (under seal) (attached as Exhibit B). In response,
        the court “note[d] that it f[ound] this request unusual since one would expect that
        Juror No. 88 would be in possession of an affidavit that she executed and had
        submitted to the court.” Dkt. 282 (under seal) (attached as Exhibit C). Reiterating
        its earlier finding that the submitted juror affidavits “constituted ‘a serious and
        inappropriate invasion into the sanctity of juror deliberations,’” the court ordered
        counsel not to disclose the content of the affidavit. Id. (quoting Dkt. 269).
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              The case was called for sentencing on August 1, 2023. Dkt. 312. The court

        imposed an 84-month sentence, restitution, a special assessment, and five years of

        supervised release. Dkt. 316. At the end of the hearing, defense counsel requested

        that the court allow Laffitte to remain on bond pending appeal. Dkt. 323 at 200:7–

        10. Counsel argued that the removal of the two jurors “could reverse this

        conviction” and that Laffitte was not a flight risk. Id. at 200:14–19.

              The court recited the applicable standard: “To allow an appeal bond, I must

        make a finding that there is a substantial question of law or fact likely to result in

        reversal and order for a new trial.” Id. at 201:1–3. It continued:

              I do not make such a finding. And, in fact, this whole issue about the
              jurors that was part of the post-conviction motions was a motion filed
              by you, Mr. Moore, claiming that the other lawyers were incompetent
              for having consented to the very decisions made by this Court
              regarding the jurors. And the government appropriately said, well,
              they basically admitted our argument, which was that this was proper.
              The jury decisions were made in close consultation of defense counsel
              and government counsel and consented to by both. I do not find that
              it’s likely that there will be a reversal. And I deny the appeal bond on
              that basis.

        Id. at 201:3–14. Laffitte timely filed a notice of appeal, Dkt. 319, and has moved

        this Court to release him pending resolution of the appeal.

                                      STANDARD OF REVIEW

              This Court reviews a court’s order denying bond for clear error. United

        States v. Langford, 687 F. App’x 265 (4th Cir. 2017) (unpublished); see also

        United States v. Vasquez-Benitez, 919 F.3d 546, 551 (D.C. Cir. 2019); United
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        States v. McCandless, 841 F.3d 819, 822 (9th Cir. 2016); United States v.

        Mercedes, 254 F.3d 433, 435 (2d Cir. 2001).

                The Court ordinarily reviews a district court’s factual findings for clear error

        and its legal conclusions de novo. United States v. Perkins, 67 F.4th 583, 589 (4th

        Cir. 2023). In recognition of the trial court’s supreme vantage point and unique

        perspective, the Court reviews the decision to replace a juror with an alternate

        under an abuse of discretion standard, “which is rarely found in this context.”

        United States v. Runyon, 707 F.3d 475, 517 (4th Cir. 2013).

                Where a defendant raises a claim on appeal that he did not preserve in the

        district court, the Court reviews only for plain error. United States v. Walker, 934

        F.3d 375, 377–78 (4th Cir. 2019); Fed. R. Crim. P. 52(b). To prevail, the defendant

        must show (1) an error that (2) was clear or obvious, (3) affected his substantial

        rights, and (4) seriously affects the fairness, integrity, or public reputation of

        judicial proceedings. Walker, 934 F.3d at 378.

                                            ARGUMENT

           I.      Applicable Legal Standard

                Section 3143(b) of Title 18 creates a presumption that a defendant who has

        been convicted and sentenced to prison be detained pending appeal: a defendant

        who has been found guilty and sentenced to prison must be detained unless the

        court finds (1) by clear and convincing evidence that the defendant is not likely to


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        flee or pose a danger if released, (2) that the appeal is not for the purpose of delay,

        and (3) the appeal raises a “substantial question of law or fact” likely to result in,

        as relevant here, reversal or an order for a new trial. 18 U.S.C. § 3143(b)(1).

                  A “substantial question” is “a close question or one that very well could be

        decided the other way.” United States v. Steinhorn, 927 F.2d 195, 196 (4th Cir.

        1991) (per curiam) (quotation marks omitted). If the question is substantial, the

        Court must determine “whether the substantial question is important enough to

        warrant reversal or a new trial on all counts for which the district court imprisoned

        the defendant.” Id.

                  The burden is on the defendant to make all three showings required by

        Section 3143(b). United States v. Bakker, 891 F.2d 287 (4th Cir. 1989) (Table).

        Failure to establish any of the requirements “warrants denial of the motion.”6 Id.

            II.      There is no substantial question of law or fact likely to result in
                     reversal or a new trial.

                  Laffitte waived any challenge to the replacement of the jurors by consenting

        to the district court questioning Juror 88 in camera and “tak[ing] action” and

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               The Government does not dispute that Laffitte is not likely to flee, does not
        pose a danger to the community, and is not appealing for the purpose of delay. This
        response therefore focuses solely on whether the appeal raises a substantial
        question of law or fact likely to result in reversal or a new trial. It is not intended to
        be a full response to the merits of each of Laffitte’s claims, and the Government
        reserves the right to raise additional claims or defenses in response to Laffitte’s
        opening brief. The Government does not forfeit or waive any such arguments by
        failing to raise them here.

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        consenting to the removal of Juror 93 based on her need to take medication. His

        claims cannot be reviewed on appeal, let alone create a substantial question of law

        or fact likely to result in reversal or a new trial.

               Even assuming his claims are preserved, Laffitte has not shown there is a

        substantial question as to the removal of either juror. The court’s uncontested

        approach to addressing the jurors’ issues was contemplated by and permissible

        under both Rule 24 and this Court’s case law. Laffitte has not presented a

        substantial question of law or fact likely to result in reversal or a new trial, and his

        motion should be denied.

               A. Laffitte consented to the actions he now challenges on appeal. His
                  claims cannot be reviewed, much less amount to a “substantial issue
                  of law or fact.”

               When a defendant intentionally decides not to assert a right, or intentionally

        relinquishes a known right, he waives any subsequent claim that the action was

        error. United States v. Robinson, 744 F.3d 293, 298 (4th Cir. 2014). And while

        Rule 52(b) provides courts discretion to correct errors that were forfeited because

        not timely raised, no such discretion applies when there has been true waiver. See

        United States v. Olano, 507 U.S. 725, 731–34 (1993). Waived claims are

        unreviewable on appeal. Robinson, 744 F.3d at 298.




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                     1. Laffitte consented to the procedure the district court used to
                        replace Juror 88.

              Laffitte agreed that the district court would speak to Juror 88 with only a

        court reporter and courtroom deputy present and then “take action” regarding her

        request to be replaced. The district court correctly found Laffitte waived his

        challenges to the procedure the court followed in questioning and then relieving

        Juror 88. Dkt. 267 at 15. His waived claims are unreviewable, Robinson, 744 F.3d

        at 298, and the replacement of Juror 88 does not present a substantial issue of law

        or fact that would warrant releasing Laffitte on appeal.

              After reading Juror 88’s note, the court specifically requested input from

        defense counsel, stating, “Mr. Daniel, your suggestions? I value your experience.”

        Tr. 2161:24–25. The court then told the parties that it was inclined to speak to the

        juror who potentially was refusing to deliberate, with a court reporter present but

        outside the presence of the parties, to inquire as to whether there was a problem.

        Tr. 2163:14–21. The court continued:

              The person with the anxiety, that’s a concern for me too. I don’t want
              someone who is not functioning to be -- I’ve got 12 jurors for a
              reason. The defendant’s rights are protected by having 12 functioning
              jurors. And it’s got to be unanimous. So I’ve got a problem having
              somebody who says I can’t do it anymore. That’s my concern.

              But I want to hear from everybody before I make a decision, because I
              think we are on virgin territory.

        Tr. 2164:1–15 (emphasis added).


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              The court then said, “with the consent of the parties, we are going to set up a

        place where I will take a court reporter, and without anyone present but the court

        reporter, I will create a record. And with my deputy and my court reporter, I will

        ask the juror if there’s a problem.” Tr. 2166:3–7 (emphasis added).

              The Government asked the court to “maybe do the same thing with the juror

        who’s reporting being anxious.” Tr. 2166:8–13. The court asked, “Do I have

        consent of the parties for me creating a record to question the juror?” Tr. 2166:14–

        15. Laffitte’s counsel replied, “Yes, you do have the consent, Your Honor.” Tr.

        2166:19–20.

              The last thing the court stated before leaving the courtroom was, “Okay. I’m

        going to take action. Fair enough? Everybody happy with that?” Tr. 2168:11–12

        (emphasis added). The Government agreed. Tr. 2168:13. There was no objection,

        request for clarification, or expression of confusion from the defense. See Dkt. 269

        at 9 (“After some discussion, the parties agreed that the Court would speak to Juror

        No. 88 with only a court reporter and courtroom deputy present and take action

        regarding her request to be replaced as a juror.”) (under seal). The court then

        questioned Juror 88 in a separate courtroom.

              Laffitte did not object until after the court returned and informed the parties

        that, based on his conversation with the juror, she had been relieved. Tr. 2169:25–

        2710:4. Both the court and the Government expressed surprise at Laffitte’s newly


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        raised objection given Laffitte’s earlier consent to the proposed procedure. Tr.

        2171:12–2174:8; see Dkt. 267 at 15 (finding “[t]he Court and Government counsel

        expressed surprise because defense counsel had plainly agreed to the in camera

        questioning of the juror and for the Court to ‘take action’ on the juror’s request to

        be replaced”). Laffitte’s belated objection did not preserve any challenge to the

        procedure the court used.

              The claim that Laffitte’s consent is invalid because the court failed to

        provide the parties with “critical information which Laffitte needed to make

        important strategic decisions” is unavailing. See Mot. 22–24. Laffitte did not

        request any additional information about the juror who asked to be relieved due to

        anxiety—not the juror number, not the identity, and not the gender.7 There is no

        reversible error in the court’s failure to provide Laffitte information he did not

        request.




        7
              Laffitte asserts that the court erred by failing to disclose that the fourth note
        included the juror number, Mot. 23, but that was obvious: when the court received
        the fourth note, it immediately informed the parties, “That’s a different juror.” Tr.
        2161:23.
              More importantly, Juror 88 asked to be replaced because she was suffering
        from anxiety. The parties did not need to not know her identity before deciding
        whether her anxiety provided a proper basis for replacement. The court based its
        decision to excuse Juror 88 solely on her inability to fulfill her duty as a juror, not
        on any identifying characteristics or perception about which way she was
        leaning—both of which would have been clearly improper.
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              That the court did not read the portion of Juror 88’s note offering to provide

        more information also does not create reversible error. Laffitte asserts that he

        “would not have passed on the offer of Juror 88 to provide more information if that

        portion of the note had been disclosed to him,” Mot. 24, but he didn’t pass on the

        opportunity to get more information from her. To the contrary, he explicitly

        consented to the district court questioning the juror and taking action. The whole

        purpose of the court’s in camera voir dire of Juror 88 was to obtain more

        information before deciding whether to honor her request to be replaced. Laffitte’s

        counsel consented to the procedure the district court used to evaluate whether to

        relieve Juror 88. He thereby waived any challenge to that procedure.

                     2. Laffitte consented to the replacement of Juror 93.

              Laffitte has repeatedly represented to the district court that he agreed to the

        replacement of Juror 93 based on her need for medication.8 Tr. 2169:25–2170:4;

        Tr. 2171:16–21; Dkt. 224 at 9. The district court correctly found Laffitte waived

        his challenge to the replacement of Juror 93 when he consented to her removal.

        Dkt. 267 at 13. His claims related to the removal of Juror 93 are therefore also



        8
               In fact, Laffitte argued in post-trial briefing that his trial counsel was
        ineffective for failing to object to the procedure employed by the court in replacing
        both jurors. See Dkt. 254 at 4 (under seal). Only now, in attempting to show that
        there are substantial questions of law warranting his release pending appeal, does
        Laffitte argue that his trial counsel actually did not consent to Juror 93’s
        replacement.
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        unreviewable, Robinson, 744 F.3d at 298, and her replacement does not present a

        substantial issue of law or fact that would warrant releasing Laffitte on appeal.

              Defense counsel expressly agreed to the replacement of Juror 93. Tr.

        2169:25–2170:4 (“We agreed with that. We agreed with that at the time.”); Dkt.

        224 at 9 (defense counsel conceding “Laffitte consented to the removal of the juror

        needing her antibiotic”); see Dkt. 269 at 12–13 (finding “Defense counsel and

        Government counsel agreed that Juror No. 93 should be replaced with an

        alternate;” that “Defense counsel made no suggestion that Juror No. 93 should be

        questioned or that any further inquiry should be made;” and that “Counsel for both

        parties appeared committed at that time to keeping the jury deliberating”) (under

        seal). He has waived any claimed error in such action. See United States v. Spruill,

        808 F.3d 585, 599 (2d Cir. 2015) (“Spruill, through counsel, also acted

        intentionally when he affirmatively agreed to and, at times, even recommended the

        actions he now challenges with respect to the removal of Juror 11. Thus,

        his [challenge to the juror’s removal] is not simply forfeited without plain error,

        but waived.”).

              As with Juror 88, Laffitte now argues his consent was invalid because the

        district court did not take steps Laffitte did not ask the court to take. First, he

        claims the district court did not properly investigate Juror 93’s medical needs

        before replacing her and that “Laffitte’s counsel were entitled to assume that the


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        court had investigated, made a record, and determined, based on evidence, that this

        juror’s medical needs rendered her unable to perform her duties,” but it did not do

        so.9 Mot. 28–29. But Laffitte never asked the court to inquire more about Juror

        93’s needs. The court suggested questioning the non-deliberating juror, and the

        Government requested that it also question the anxious juror. Tr. 2165:21–2166:13.

        Defense counsel consented to those proposals. Tr. 2166:19–20. At no point did

        Laffitte request additional information about or questioning of the juror who

        needed medication, and the district court’s failure to do something Laffitte never

        asked it to do neither undermines Laffitte’s consent nor amounts to reversible

        error.10

               Finally, contrary to Laffitte’s claim, the district court’s failure to tell the

        parties that Juror 93 had twice underlined the word “pressured” does not invalidate

        his waiver. See Mot. 29. Laffitte did not request an opportunity to review Juror

        9
               Earlier in his motion, Laffitte asserts that he only consented to the district
        court questioning the non-deliberating juror to create a record. Mot. 8; see also id.
        at 21 n.12. Laffitte cannot credibly argue both that he had no expectation the
        district court would do anything beyond question the non-deliberating juror and
        that he was “entitled to assume” the court did exactly that by also questioning the
        juror who needed medication.
        10
               In support of his argument that he did not have the information he needed to
        consent to Juror 93’s removal, Laffitte relies on claims made in Juror 93’s
        affidavit. Mot. 28. The district court correctly found Juror 93’s statements are
        incompetent evidence under Rule 606(b) and are not credible. See Dkt. 269 at 13–
        15 (finding “Juror No. 93’s affidavit carries the hallmark of the manipulating and
        shaping of the juror’s testimony by defense counsel”) (under seal). Juror 93’s
        affidavit should not be considered in evaluating of Laffitte’s motion.
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        93’s note.11 And because he consented to her replacement based on her need to

        take medication, Tr. 2169:25–2170:4 (“we would object not to the juror that was

        replaced for medication”), it does not matter how many times the word “pressured”

        was underlined.

               Laffitte “consented to the prompt replacement of Juror No. 93.” Dkt. 269 at

        14 (under seal). He clearly “waived his right to challenge the procedure adopted by

        the Court with the consent of his trial attorneys.” Id. His challenges to the removal

        of Juror 93 are unreviewable. They do not present a substantial issue likely to

        result in reversal or a new trial.

               B. Assuming Laffitte preserved his claims, he cannot carry the heavy
                  burden of showing there is a close question as to whether the district
                  court abused its broad discretion in replacing the jurors.

               Laffitte cannot show there is a “close question or one that very well could be

        decided the other way,” Steinhorn, 927 F.2d at 196 (quotation marks omitted), as

        to whether the district court abused its discretion by replacing the two jurors. To

        the contrary, this Court has already recognized such a finding would be rare.

               Federal Rule of Criminal Procedure 24(c) “expressly authorizes district

        courts to impanel alternate jurors and to substitute them for jurors who can no

        longer serve.” Runyon, 707 F.3d at 517. In recognition of the district court’s


        11
               For this same reason, the fact that the district court did not disclose Juror
        93’s identity is not reversible error. Laffitte never asked for a juror number or
        identity.
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        superior vantage point on matters of trial management, the Court reviews the

        decision to replace a juror with an alternate for abuse of discretion, “which is rarely

        found in this context.” Id.; see also United States v. Nelson, 102 F.3d 1344, 1349–

        50 (4th Cir. 1996); United States v. Hayden, 85 F.3d 153, 157 (4th Cir. 1996);

        United States v. Colkley, 899 F.2d 297, 303 (4th Cir. 1990).

              Like this Court, other appellate courts afford district courts significant

        discretion in deciding whether to replace jurors with alternates. See, e.g., United

        States v. Penn, 870 F.3d 164, 171 (3d Cir. 2017); United States v. Picardi, 739

        F.3d 1118, 1122 (8th Cir. 2014); United States v. De Oleo, 697 F.3d 338, 341 (6th

        Cir. 2012); United States v. Farhane, 634 F.3d 127, 168 (2d Cir. 2011); United

        States v. Boone, 458 F.3d 321, 329 (3d Cir. 2006).

              Appellate courts are particularly deferential in situations where a juror’s

        mental or physical capacity to continue serving is at issue. See United States v.

        Thompson, 528 F.3d 110, 121 (2d Cir. 2008) (juror replaced after telling judge her

        nerves “were shot”); United States v. Huntress, 956 F.2d 1309, 1313 (5th Cir.

        1992) (juror in poor health became more ill during deliberations and was replaced);

        United States v. O’Brien, 898 F.2d 983 (5th Cir. 1990) (juror with recent history of

        depression replaced); United States v. Varnedore, 73 F. App’x 356, 360 (10th Cir.

        2003) (unpublished) (trial judge determined juror who suffered painful injury and

        was on pain medication should be excused).


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               District courts have substantial discretion over whether to replace jurors, and

        Laffitte faces an exceedingly high bar in establishing any likelihood this Court will

        find that the district court abused that discretion. He cannot clear that bar as to

        either juror.

                        1. The district court did not violate Laffitte’s right to be present
                           when either juror was removed.

               Federal Rule of Criminal Procedure 43(a)(2)12 and the Fifth Amendment’s

        Due Process Clause require a defendant’s presence at the removal of jurors.

        Runyon, 707 F.3d at 517. Laffitte’s right to be present was not violated by the

        removal of either juror.

               To the extent a defendant must be physically in the same room when a juror

        is excused, the district court correctly found Laffitte waived that right as to Juror

        88 when his counsel agreed to let the court voir dire the juror and “take action”

        outside his presence. See Dkt. 267 at 15. The court gave Laffitte sufficient notice

        of its proposed plan and an opportunity to provide suggestions on the best course

        of action. See, e.g., Tr. 2158:6–2168:11 (“I welcome any thoughts anyone may

        have.”). The court sought input from the parties on numerous occasions,

        specifically telling defense counsel that it valued his experience. Tr. 2161:24–25.

        Laffitte had ample opportunity to weigh in on the court’s in camera meeting with



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               Rule 43(a)(2) requires a defendant’s presence at “every trial stage.”
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        the juror, but he neither requested to be present nor objected to the court meeting

        with the juror outside his presence to “take action.”

              Moreover, under any reasonable interpretation of the presence requirement,

        Laffitte and his counsel were present when the court considered whether to relieve

        and replace both jurors. Juror 88 was relieved after extensive discussion with both

        parties in open court. The court did not err by following “a procedure [the court

        and parties] had agreed to.” Tr. 2171:23–2172:3. And, as the district court held in

        denying Laffitte’s request for a new trial, his claim that Juror 93 was removed

        outside of his presence “is simply untrue.” Dkt. 267 at 13. Laffitte’s counsel were

        actively engaged in discussions with the court and the Government about how to

        proceed, and Laffitte, a “sophisticated businessman, was sitting at counsel table

        throughout these discussions.” Id. at 18. Laffitte was unquestionably present when

        the court, the Government, and his counsel devised a plan for responding to the

        juror notes.

                       2. Laffitte cannot show a substantial question likely to result in
                          reversal or a new trial as to Juror 88.

              Laffitte’s claim that the district court committed reversible error by

        replacing Juror 88 is reviewed for—at most—an abuse of discretion.13 Runyon, 707



        13
             As discussed above, Laffitte consented to the procedure used to determine
        whether to relieve Juror 88 and therefore waived any claims related to that issue.
        To the extent the Court finds he simply failed to object when he had the
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        F.3d at 517. But his challenges to the district court’s factual findings are reviewed

        only for clear error. Perkins, 67 F.4th at 589. Laffitte cannot overcome the two

        highly deferential standards of review to establish there is a substantial question of

        law or fact likely to result in reversal or a new trial. The court did not clearly err in

        finding Juror 88 was physically and emotionally unable to continue deliberations,

        and it properly exercised its broad discretion to relieve her.

                          a. The district court did not clearly err by finding Juror 88
                             could not continue to perform her duties or abuse its
                             discretion by releasing her.

                 Once the court employed the agreed-upon plan to voir dire Juror 88 outside

        the presence of the parties, the court was well within its discretion to release her

        after finding she was incapable of performing her duties. The court found it was

        “obvious that Juror No. 88 was under considerable stress.” Dkt. 267 at 14. She

        “initially asked the Court to wait to allow time to compose herself,” then told the

        court she was not able to perform her duties as a juror. Id.; Dkt. 212 at 2–3 (under

        seal).

                 The court found Juror 88 was “plainly incapable of continuing” and

        “emotionally incapable of functioning.” Tr. 2168:20–2170:13; Tr. 2172:17–

        2174:8. The court noted she was on medication, experiencing anxiety, shaking and

        could hardly speak, and, by the court’s estimation, in an “emotional meltdown

        opportunity to do so, his claims related to Juror 88 would be reviewed for plain
        error. Runyon, 707 F.3d at 517.
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        situation.” Tr. 2168:25; Tr. 2172:19–21; Tr. 2174:6–8. None of these findings are

        clearly erroneous. And after making them, the court appropriately exercised its

        discretion to replace Juror 88 because she could not uphold her duties as a juror.

              The court did not abuse its discretion by replacing Juror 88 rather than

        adopting some alternative solution. Laffitte argues the court should have

        “suggest[ed] any alternative that may have very well alleviated her anxiety.” Mot.

        26. But Laffitte had an opportunity to propose alternative measures when the court

        repeatedly asked for the parties’ input, and he declined to do so. The fact that the

        court could have proceeded differently does not mean it acted unreasonably by

        proceeding as it did. Laffitte’s after-the-fact objection and speculative second-

        guessing cannot establish that the district court abused its discretion.

                        b. The district court did not remove Juror 88 based on her
                           views of the evidence.

              The record does not support Laffitte’s claim that Juror 88 was improperly

        removed based on her views of the evidence. See Mot. 25. In fact, when the district

        court rejected Laffitte’s motion for a new trial, it found his claim that Juror 88 was

        replaced because of her disagreement with other jurors was “simply untrue.” Dkt.

        267 at 16. The court stated it spoke with Juror 88 only “because she indicated that

        she was anxious and needed to be replaced with an alternate” and that its “singular

        focus was on [her] ability to perform her duties as a juror.” Id.



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              The court’s post-trial findings are supported by the transcript of the

        proceedings surrounding Juror 88’s replacement. The court stated repeatedly that it

        would not allow jurors to “gang[] up on somebody and try[] to bump them off a

        jury.” Tr. 2164:25–2165:2; Tr. 2165:12–17 (“I can’t let a juror be bumped out one

        way or the other”). And the court made clear that it “never had to address” the

        potential issue of dissension and “never got into what’s going on in the jury room

        or anything like that” with either of the excused jurors.14 Tr. 2169:2–5; Tr.

        2170:10–11.

              There is simply nothing in the record to support Laffitte’s claim that the

        removal of Juror 88 was linked to her views of the evidence. The court did not

        make any inquiries into her position with respect to the other jurors, her views of

        the evidence, or the allegations that a juror was unwilling to deliberate or follow

        the court’s instructions. Tr. 2169:2–5. The court excused Juror 88 based solely on



        14
               Laffitte puts great emphasis on Juror 88’s claims that she was feeling
        anxious because of the other jurors’ reactions to her decisions, Mot. 24–25, but the
        district court conscientiously avoided any discussion of deliberations with the
        jurors. See Dkt. 267 at 15–16; see Spruill, 808 F.3d at 593 (holding district court’s
        discretion in removing deliberating jurors extends to deciding “whether, and to
        what degree, to question a deliberating juror regarding circumstances that may give
        cause for removal,” and noting “[s]uch questioning must be pursued
        cautiously . . . so as not to intrude on one of the cornerstones of our jury system:
        preservation of the secrecy of jury deliberations”); Boone, 458 F.3d at 329. The
        record is clear that Juror 88’s interactions with other jurors had no bearing on the
        court’s decision to relieve her.

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        her fragile mental state and representation to the court that she was unable to

        continue deliberations.

                     3. Laffitte cannot show a substantial question likely to result in
                        reversal or a new trial as to Juror 93.

              Laffitte consented to the replacement of Juror 93 based on her need to take

        medication after a full discussion between the court and the parties, for which

        Laffitte was present. No aspect of the replacement of Juror 93 presents a

        substantial question of law or fact likely to result in reversal or a new trial.

                     4. Any error in replacing either juror is not reversible.

              As discussed above, Laffitte’s claims have not been preserved and are

        therefore either unreviewable or reviewed only for plain error. Assuming, however,

        that he establishes the district court committed constitutional error, the

        Government can prove the error was harmless beyond a reasonable doubt.15 See

        United States v. Camacho, 955 F.2d 950, 955 (4th Cir. 1992).

              First, Laffitte was not prejudiced by replacing Jurors 88 and 93 with

        alternates. The two alternates were empaneled at the same time as the other jurors,

        while Laffitte and his counsel were present. See Runyon, 707 F.3d at 517 (holding

        that, although the district court erred by dismissing a juror outside the presence of

        the defense, the error did not affect the defendant’s substantial rights because the


        15
               This argument assumes—as Laffitte’s motion does—but does not concede
        that he has raised properly preserved claims of constitutional error.
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        alternate had been selected during the exact same process as the remaining jurors).

        The alternates were subjected to the same voir dire and opening and final jury

        charge as the other jurors. And when polled, each juror affirmed the verdict. Tr.

        2176:9–2177:15.

                 Second, as extensively detailed in the Government’s responses to Laffitte’s

        motions for new trials, Dkt. 238, 280, overwhelming evidence supported Laffitte’s

        guilt on all six counts. Laffitte’s argument that the outcome of the trial would have

        been different had Jurors 88 and 93 not been excused relies solely on information

        contained in inadmissible juror affidavits that the court found bear the “hallmarks

        of lawyerly shaping and manipulation of the evidence.” Dkt. 269 at 11 (under

        seal). As noted above, the jurors’ affidavits are clearly incompetent evidence under

        Rule 606(b), and they are not credible. See United States v. Acker, 52 F.3d 509,

        516 (4th Cir. 1995) (upholding district court’s refusal to consider juror affidavit

        claiming excused juror would not have voted to convict defendant). Their

        statements cannot create a substantial issue likely to result in reversal or a new

        trial.

                                             CONCLUSION

                 There is no substantial question of law or fact likely to result in reversal or a

        new trial. Laffitte consented to the procedure the district court used to replace Juror

        88 and has repeatedly acknowledged he consented to the removal of Juror 93. His


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        unpreserved claims are highly unlikely to succeed on appeal. And even if the

        claims were preserved, there is no close question as to whether the district court

        abused its broad discretion in replacing the jurors. Laffitte’s motion for release

        pending appeal should be denied.

                                               Respectfully submitted,


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